Case 1:16-CV-OO437-DLH-CS|\/| Document 17 Filed 10/10/17 Page 1 of 3

lN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT GF NORTI~I DAKOTA

Go Aggregates, LLC, a Delaware limited
liability company,

Plaintiff,
vs.
l\/IcKenzie County, North Dal<ota, a
political subdivision of the State ofl\lorth

Dal<ota,

Det`endant.

a<**

Case No: 1:16-cv-437

STIPULATI()N TO Al\/IENI)
SCHEDULING/DISCOVERY PLAN
AND ORDER

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The parties, by and through their counsel of record, respectfully move this Court for an

Order amending the Scheduling/Di.s'covery Plan and ()ra’e/' tiled on l\/Iarch 3, 2017 (Document

16). The parties hereby stipulate and agree that the following deadlines in this action should be

extended:

 

EVENT

CURRENT
DEADLINE

PR()P()SED
DEADLINE

 

Deadline for parties to complete fact
discovery and to file discovery motions

November 1, 2017

January 31, 2018

 

Deadline for Plaintit`f to disclose its expert
witnesses and their reports

December 1, 2017

January 31, 2018

 

Deadline for Defendant to disclose its expert
Witnesses and their reports

January 2, 2018 February 28, 2018

 

Deadline for parties to complete discovery
depositions of expert Witnesses

February 1, 2018 l\/larch 30, 2018

 

 

Deadline for parties to file other dispositive
motions

 

l\/larch 2, 2018 April 25, 2018

 

 

 

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Deadline for parties to be ready to evaluate the February l, 2018 l\/Iarch 30, 2018
case for settlement purposes
DATE: October 10, 2017 ANDREWS KURTH KENYON LLP

By /s/ .lames C. Bookhout

 

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DATE: October 10, 2017

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CERTIFICATE OF SERVICE

l hereby certify that on the 10th day of October, 2017, a true and correct copy of the

foregoing STIPULATION TO

SCHEDULING/DISCOVERY PLAN AND

()RDER Was filed electronically vvith the Clerk ofCourt through ECF, and that ECF vvill send a

Notice of Electronic Filing (NEF) to the following:

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By /s/ Seott K. Porsborg

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